               Case 5:16-cv-01960-EJD Document 20 Filed 07/15/16 Page 1 of 1



     Attorney for Plaintiff
 1   Rory Leisinger
     Rory Leisinger, Esq.
 2   Leisinger Law, LLP
     118 N. Citrus Ave, Suite B
 3   Covina, CA 91723
     (P) (626) 290-2868
 4   (e) rory@leisingerlaw.com
 5                          UNITED STATES DISTRICT COURT
 6
                                      FOR THE
                           NORTHERN DISTRICT OF CALIFORNIA
 7

 8                                  )
     EUGENIO GOROSPE, an Individual on                Case No.: 5:16-cv-01960-EJD-NMC
                                    )
     behalf of himself and all others similarly
 9                                  )                 [PROPOSED] ORDER GRANTING
     situated, ,                    )                 STIPULATION AND JOINT
10               Plaintiff,         )                 REQUEST FOR DISMISSAL OF
                                    )                 NAMED PLAINTIFF WITH
11                  vs.             )                 PREJUDICE AND PUTATIVE CLASS
                                    )                 WITHOUT PREJUDICE
12   PORTFOLIO RECOVERY ASSOCIATES, )
     LLC,                           )
13                                  )
                Defendant.
14

15

16
            Pursuant to the stipulation and joint request, IT IS HEREBY ORDERED that pursuant
17
     to F.R.C.P. 41(a)(1)(A)(2) the action of plaintiff EUGENIO GOROSPE against defendant
18
     PORTFOLIO RECOVERY ASSOCIATES, LLC be dismissed with prejudice and the claims
19

20   of the putative class in this action against defendant PORTFOLIO RECOVERY

21   ASSOCIATES, LLC be dismissed without prejudice. Each party shall bear its own costs and
22
     attorneys’ fees.
23
            IT IS SO ORDERED.
24

25

26          DATED: 7/15/2016

27                                       By:________________________________
28
                                               Hon. Edward J. Davila




                                                  1
